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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 DERRICK JONES, JEROME JONES, MARRELL                         )
 WITHERS and DARNELL RUSAN                                    )
                                                              )
         Plaintiffs,                                          )
                                                              )    Cause No. 4:21-cv-600
         v.                                                   )
                                                              )
 CITY OF ST. LOUIS et al.,                                    )
                                                              )
         Defendants.                                          )

  PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                  PLAINTIFFS’ THIRD AMENDED COMPLAINT

        Defendants ask this Court to dismiss Plaintiffs’ Third Amended Complaint, relying in large

part on arguments which have been previously raised and rejected by this Court. Doc. 139, 140.

Defendants are wrong in their characterization of the facts and wrong on the law. Plaintiffs allege,

and it must be accepted as true, application of unreasonable force with more than de minimis

injuries and plausibly allege that excessive macing and retaliatory water shut-offs are widespread

practices of which Defendants had or should have had notice. In addition, Defendants advance

several arguments outside the proper scope of a Motion to Dismiss in asking this Court to find

injunctive relief could not be properly administered according to PLRA requirements and raising

Rule 23 arguments. For the following reasons, Defendants’ Motion to Dismiss should be denied.

                                        LEGAL STANDARD

        To survive a motion to dismiss for failure to state a claim, a plaintiff’s allegations must

contain “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). A claim “has facial plausibility when the plaintiff pleads factual content that



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allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556). When considering a motion to dismiss, “the court

must accept the allegations contained in the complaint as true and draw all reasonable inferences

in favor of the nonmoving party.” Coons v. Mineta, 410 F.3d 1036, 1039 (8th Cir. 2005). A court

must “draw on its judicial experience and common sense,” and consider the plausibility of the

plaintiff’s claim as a whole, not the plausibility of each individual allegation. Zoltek Corp. v.

Structural Polymer Grp., 592 F.3d 893, 896 n.4 (8th Cir. 2010) (quoting Iqbal, 556 U.S. at 679).

                                          ARGUMENT

    I.   Defendants’ Motion to Dismiss raises arguments which this Court has previously
         rejected

         Defendants first filed a Motion to Dismiss on July 14, 2021. Doc. 24. In it, Defendants

asserted that Counts One through Three of the amended complaint alleging excessive force by

individual officers in violation of the Fourteenth Amendment must be dismissed for failure to state

a claim because Plaintiffs have alleged no more than de minimis force and injuries, and because

they are entitled to qualified immunity on these claims. Defendants also argued that Counts Four

and Six of the amended complaint must be dismissed because Plaintiffs have failed to show the

existence of a widespread custom or policy condoning use of excessive macing or retaliatory water

shut-offs. Doc. 25 at 9. On January 13, 2022, the Court denied each of those arguments. Doc. 52.1

         Plaintiffs have filed their Third Amended Complaint. Doc. 131. While this Complaint adds

class injunctive claims, Counts One through Three were not substantially changed since this Court

issued the order denying Defendants previous Motion to Dismiss. Doc. 1; Doc. 131. The Court has



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 In that earlier motion, Defendants also argued the claims against Commissioner Carson and
Superintendent Barnes in their official capacities should be dismissed. The Court agreed. Doc.
52. Neither Commissioner Carson nor Glass is named in this current Third Amended Complaint.
Doc. 131.

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already held that Plaintiffs’ allegations of excessive force were sufficient to state a claim, that

Defendants were not presently entitled to qualified immunity, and that Plaintiffs have sufficiently

pleaded facts alleging the existence of a widespread custom or policy. Yet in Sections I and II of

their Motion, Defendants revive these same arguments previously denied by this Court using

language quite literally copy pasted from their first Motion. Doc. 25; Doc. 140.2 For the same

reasons this Court decided Defendants’ arguments lacked merit before, they lack merit today.

       And Defendants also fail to contend the Court made clearly or manifestly erroneous

findings of fact or conclusions of law in its January 13, 2022 decision. In fact, Defendants do not

cite or acknowledge the Court’s previous order at all, let alone explain any deficiencies in its

reasoning or incorrect conclusions of law. Even if they had, the arguments Defendants raise for

the second time fail to meet the high bar for reconsideration of a prior ruling.

       Reconsideration of interlocutory orders is limited to where there is a need to “correct

any clearly or manifestly erroneous findings of fact or conclusions of law.” MacCormack v. Adel

Wiggins Grp., 4:16-CV-414-CEJ, 2017 WL 1426009, at *2 (E.D. Mo. April 21, 2017) (quoting

Bancorp Servs., L.L.C. v. Sun Life Assur. Co. of Canada, No. 4:00-CV-1073 CEJ, 2011 WL

1599550 (E.D. Mo. Apr. 27, 2011)). “Although the Court has the power to revisit prior decisions

of its own . . . [it] should be loathe to do so in the absence of extraordinary circumstances such as

where the initial decision was clearly erroneous and would work a manifest injustice.” Evans v.

Cont. Callers, Inc., No. 4:10CV2358 FRB, 2012 WL 234653, at *2 (E.D. Mo. Jan. 25, 2012). “The

Court also has an interest in judicial economy and ensuring respect for the finality of its decisions,

values which would be undermined if it were to routinely reconsider its interlocutory orders.”


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 Defendants also repeat several arguments raised in their Response in Opposition to Plaintiffs’
Motion for Leave to Amend the Complaint, Doc. 90, although as Plaintiffs noted in their Reply it
was an improper venue for those arguments. Doc. 97. This Court also granted Plaintiffs leave to
amend, thereby again rejecting Defendants’ arguments. Doc. 104.

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Trickey v. Kaman Indus. Techs. Corp., No. 1:09-CV-00026-SNLJ, 2011 WL 2118578, at *2 (E.D.

Mo. May 26, 2011).

        As explained in sections II and III, infra, Defendants’ arguments continue to be legally and

factually incorrect. Defendants fail to offer any arguments that demonstrate extraordinary

circumstances or to undermine the Court’s interest in finality of decision and judicial economy.

        As such, this Court should deny Defendants’ Points I and II of Defendants’ Motion to

Dismiss this Court as it constitutes a request to this Court to reconsider an earlier ruling without

justification or cause.

 II.    Defendants’ Motion to Dismiss Counts I, II, III should be denied because Plaintiffs
        alleged objectively unreasonable force.

        Defendants argue that Counts I, II, and III should be dismissed because the Plaintiffs

alleged merely de minimis injuries. This is a simply incorrect construction of Plaintiffs allegations

and controlling Eighth Circuit caselaw. Moreover, this Court already ruled, correctly, even if de

minimis, Plaintiffs have sufficiently alleged unreasonable force.

    A. Plaintiffs allege more than de minimis injuries.

        Defendants argue that Counts I, II, and III should be dismissed because the Plaintiffs

alleged merely de minimis injuries that are indicative of a de minimis use of force. But precisely

the opposite is true. Plaintiffs allege the use of chemical agents in prolonged and excessive fashion,

describing intense pain, burning of the eyes, face, and skin, subsequently being unable to breathe

and lasting symptoms. See Doc. 131 ¶¶ 23-72. Plaintiffs allege that Defendants used chemical

agents in a manner that causes more than a de minimis use of force and injury.

        Specifically, Derrick Jones was maced in the eyes and face, taken to the ground and beaten,

handcuffed, maced again, and then placed in a holding cell, only to be maced again. Doc. 131 ¶¶




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23-26. Derrick struggled to breath, was denied medical treatment, and endured burning from the

mace on his skin and clothes for days because he was refused a shower. Id. ¶¶ 26-28, 30.

        Jerome Jones, while in handcuffs, was left in a mace-filled fully enclosed 3- by 5-foot room

for 25 minutes where his eyes, face, and entire body were burning from being soaked in mace—

he was denied medical attention and for weeks would wake in the middle of the night in respiratory

distress. Id. ¶¶ 34-43. He still experiences respiratory issues to this day. Id. ¶ 44.

        Darnell Rusan was maced by Lt. Turner with a riot sized can of spray less than two feet

away. Id. ¶¶ 45-51. Following that, he was then accosted by two correctional officers who slammed

him into a wall, hit and choked him, and told him, “we’ll kill your little ass in here.” Id. ¶¶ 52-59.

Darnell Rusan remained handcuffed, bleeding from his head, as he became dizzy and struggled to

catch his breath. Id. ¶ 54. On a separate occasion, Darnell was locked in a mace-filled visiting

room for four hours fully nude—and he was also denied medical assistance after being released

from the cell. Id. ¶¶ 59-62.

        Marrell Withers was also sprayed directly in the face while restrained in handcuffs. Id. ¶

63-72. Marrell informed Defendants Willis and Jones that he had asthma and begged them not to

mace him. Id. ¶ 68. When Marrell tried to remain calm, Captain Wills yelled that the mace had

not worked and instructed CO Jones to mace Marrell a second time. Id. ¶ 70.

        Defendants rely on Peterson to argue that the Eighth Circuit has never deemed pepper

spray to inherently cause more than de minimis harm. Peterson v. Kopp, 754 F.3d 594 (8th Cir.

2014). This is a misunderstanding of Peterson, which only states that in 2014, the Eighth Circuit

had “not held that the use of pepper spray necessarily causes more than de minimis injury.” Id. at

601. but the court then went on to explicitly acknowledge that, at times, excessive use of mace will

result in a more than de minimis injury, citing to Lawrence v. Bowersox, 297 F.3d 727, 732 (8th




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Cir. 2002). Peterson, 754 F.3d at 601. In fact, Peterson explains that in a prior case, Chambers v.

Pennycook, the Eighth Circuit has held that “[t]he degree of injury should not be dispositive,

because the nature of the force applied cannot be correlated perfectly with the type of injury

inflicted.” Id., citing Chambers v. Pennycook, 641 F.3d at 906. “It is logically possible to prove an

excessive use of force that caused only a minor injury, and a rule that forecloses a constitutional

claim in that circumstance focuses on the wrong question.” Pennycook, 641 F.3d at 906.

       The facts of Peterson are distinguishable as well. In Peterson, an arresting police officer

sprayed the plaintiff in the open air for two seconds in the face and, at the summary judgment

phase, the Eighth Circuit found that the officer was entitled to qualified immunity. Id. The Circuit

described Peterson as a “close case,” one where the pepper spraying of Peterson “may have been

unreasonable.” Id. at 601. The Peterson court reasoned that while the Plaintiff suffered some pain,

it was pertinent that he did not seek medical care for his symptoms. Id. By contrast, in Lawrence,

the court held that the plaintiffs suffered more than de minimis injuries when “inmates’ faces and

bodies were soaked in pepper spray” and “their entire cell was covered with the spray.” 297 F.3d

at 732. The Court in Lawrence cited the lasting and “intense burning” that the plaintiffs

experienced after inhaling mace for 10 minutes. Id. See also Treats v. Morgan, 308 F.3d 868, 875

(8th Cir. 2002) (noting pepper spray is a “painful substance” and that it would be “a matter of

serious concern if correctional officers” believed it “could be used at will”).

       As such, in the Eighth Circuit, excessive macing can cause more than de minimis injuries.

As this Court wrote when denying Defendants’ identical argument advanced in its last Motion to

Dismiss, “even if the injuries alleged were de minimus (and it is by no means clear that they are)

it is clearly established that the unreasonableness of the force used, not the nature of the injury is

the relevant inquiry.” Doc. 52 at 9 (citing Pennycook, 641 F.3d at 906).




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       Specifically, in the present case, Plaintiffs were covered in mace and placed in mace-filled

rooms for even longer periods of time. Plaintiffs Derrick Jones and Darnell Rusan were maced

repeatedly. The no-contact visiting room where Plaintiff Jerome Jones was held was so suffused

with noxious air that he fell to the ground to access fresh air. Doc. 131 ¶¶ 35-37. All three

individual Plaintiffs were left with mace on their bodies for an extended period of time without

being allowed to shower for hours or even days. As in Lawrence, the exposure to chemical agents

was excessive and intended to cause pain—Defendant Fowlkes, having locked Derrick Jones in a

holding cell, said “let him marinate” after macing Jones for the third time in a matter of hours. Id.

¶ 29. Plaintiffs have made sufficient allegations to demonstrate they endured more than de minimis

injuries and that unreasonable force was exerted against them.

       Defendants’ reliance on the Fourth Circuit’s decision in Williams and on White v. Jackson

is misguided. Williams v. Benjamin, 77 F.3d 756 (4th Cir. 1996); White v. Jackson, 865 F.3d 1064

(8th Cir. 2017). In Williams, the Fourth Circuit considered the use of mace in “small quantities”

and when remarking that mace may be “more humane” explained this was based on a “prompt

washing of the maced area of the body” to provide relief from the pain. Williams, 77 F.3d at 763.

Here, the pain suffered by Plaintiffs was the result of the use of large amounts of mace and the

Defendants preventing Plaintiffs from washing mace off their bodies for extended periods of time.

       The court in White concluded the section of an arrest where an officer placed a knee in an

arrestee’s back was not an unreasonable use of force within the context of an arrest. Id. at 1080

(quoting Graham v. Connor, 490 U.S. 386, 396). However, the White court reversed the lower

court’s grant of qualified immunity with respect to the use of pepper spray (as well as other

physical assaults on a restrained individual), holding there was a genuine issue of material fact as

to whether these actions constituted gratuitous, unnecessary force against a subdued individual




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which was not objectively reasonable. Id. Plaintiffs here present similar allegations of gratuitous,

unnecessary force. See Doc. 131 ¶¶ 73-86.

        Plaintiffs have presented clear allegations as to the state of their injuries, and to the extent

there is a genuine dispute of material fact as to the severity of the injuries endured, that issue cannot

be resolved here.

    B. Plaintiffs’ allegations are sufficient to demonstrate unreasonable force.

        The proper question is one of the objective reasonableness of Defendants’ actions.

Peterson, 754 F.3d at 601.3 A detainee can prove an excessive force claim under the Fourteenth

Amendment by showing the force used was objectively unreasonable. Courts must consider the

following factors in evaluating such a claim: (1) the relationship between the need for the use of

force and the amount of force used; (2) the extent of the plaintiff’s injury; (3) any effort made by

the officer to temper or to limit the amount of force; (4) the severity of the security problem at

issue; (5) the threat reasonably perceived by the officer; and (6) whether the plaintiff was actively

resisting. Kingsley v. Hendrickson, 576 U.S. 389, 397 (2015).




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  Defendants here ask this Court to find them entitled to qualified immunity. The qualified
immunity analysis has two prongs: (1) whether the facts alleged, viewed in the light most favorable
to the plaintiff, show that the defendant violated a constitutional or statutory right, and (2) whether
the right at issue was clearly established at the time of the offending conduct. Bonenberger v. St.
Louis Metro. Police Dep't, 956 F. Supp. 2d 1059 (E.D. Mo. 2013) (citing Brown v. City of Golden
Valley, 574 F.3d 491, 496 (8th Cir.2009)). Notably, Defendants only raise arguments regarding
the first prong, and do not argue that the rights at issue were not clearly established. Nor could
they. In Lawrence, the Eighth Circuit held that, “orchestrating an unnecessary pepper spray shower
violated clearly established rights of which a reasonable person should have known.” Lawrence,
297 F.3d at 733. Likewise, in this Court’s order denying Defendants’ last Motion to Dismiss, this
Court cited a plethora of cases, including Johnson v. Carroll, 658 F.3d 819, 828 (8th Cir. 2011),
Treats v. Morgan, 308 F.3d 868, 872-73 (8th Cir. 2002), Bauer v. Norris, 713 F.2d 408, 42 (8th
Cir. 1983), and Krout v. Goemmer, 83 F.3d 557, 566 (8th Cir. 2009), noting that, “[t]aken together
these cases show that Plaintiffs’ right to be free from excessive force in the alleged circumstances
was clearly established.” Doc. 52 at 10.

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       Defendants presumably focus only on the extent of injury factor—which, as discussed

supra, Plaintiffs dispute—because all the other factors weigh decisively in Plaintiffs’ favor. The

Eighth Circuit has repeatedly found that macings almost identical to the facts alleged here can be

objectively unreasonable. In Tatum v. Robinson, the Eighth Circuit found that the use of pepper

spray for one second against the plaintiff was unjustified because a reasonable officer would not

have viewed the plaintiff as resisting, as an immediate threat, or engaged in a severe crime; the

court held that even a short burst of mace was objectively unreasonable. 858 F.3d 544, 546 (8th

Cir. 2017). In Henderson v. Munn, 439 F.3d 497 (8th Cir. 2006), the Eighth Circuit affirmed a

decision denying an arresting officer qualified immunity because a reasonable jury could find that

an officer used excessive force in pepper spraying a man in the face who was handcuffed and lying

in the ground. Id. at 502.

       In the Eighth Amendment context, the Eighth Circuit has also held that the use of pepper

spray in response to a non-recalcitrant incarcerated person constitutes excessive use of force,

whether the macing causes only de minimis injuries notwithstanding. In Treats v. Morgan, the

circuit court considered whether a plaintiff who had been maced without warning for disputing an

officer’s order could sustain an excessive force claim at the summary judgment phase. Treats, 308

F.3d at 872-73. The court rejected a similar argument to the one set forth by Defendants here - that

pepper spray causes only de minimis injury if “an inmate has disobeyed an order and received

medical attention after being sprayed.” Id. at 871. Instead, the court concluded that because the

plaintiff could not at the summary judgment phase “be said to have been recalcitrant or

threatening” there were genuine issues for trial regarding the plaintiff being pepper sprayed. Id. at

873; see also Foulk v. Charrier, 262 F.3d 687, 702 (8th Cir. 2001) (holding a reasonable jury could




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find an officer engaged in a malicious and sadistic use of force when he enticed an incarcerated

person to a screened window and sprayed pepper spray into the plaintiff’s face).

       The extent and nature of macing used by the Defendants violated Defendants’ own written

policies; Plaintiffs were left with their eyes, face, and skin burning for hours if not days (Doc. 131,

¶¶ 28, 40, 52); none of the Plaintiffs posed immediate security risks (Id. ¶¶ 26; 39; 54-56); Plaintiffs

were placed in mace-filled rooms where they could pose no threat (Id. ¶¶ 29; 36; 56); Plaintiffs

were not actively resisting when they were maced (Id. ¶¶ 25-26; 33; 54).

       Here, this Court has already and correctly found in denying Defendants’ identical

arguments advanced earlier that “Plaintiffs’ excessive force claims in Counts One, Two, and Three

are sufficient to state a claim.” Doc. 52 at 7. As to Derrick Jones, this Court wrote, “correctional

officers used excessive force on him without reason or provocation. There is no indication that the

force used was in an attempt to maintain or restore discipline, particularly as he was handcuffed

during much of the encounter.” Id. at 8. For Jerome Jones, the Court pointed out his allegations

he was handcuffed and placed in a small, mace-filled room for approximately 25 minutes despite

not physically resisting at any time. Id. As to Darnell Rusan, the Court noted his allegations that

he was maced followed by a physical assault, and that he was on a separate day left in a room filled

with mace for hours. Id. For the same reasons this Court previously denied Defendants attempt to

dismiss Counts I-III, the Court should deny those here.

       Plaintiff Marrell Withers’ allegations are similar in every important respect. He alleges that

he was handcuffed, not physically resisting, and was maced directly in the face despite having

notified the correctional officers of his asthma. Doc. 131 ¶¶ 69-72. This Circuit has been clear that

this is unreasonable and excessive force. Krout v. Goemmer, 83 F.3d 557, 566 (8th Cir. 2009)




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(“The use of . . . gratuitous force against a suspect who is handcuffed, not resisting, and fully

subdued is objectively unreasonable.”).

       For these reasons, Plaintiffs have sufficiently stated a claim for excessive force for Counts

I-IV and Defendants are not entitled to qualified immunity.

III.   Plaintiffs have plausibly alleged that excessive macing and retaliatory water shut-offs
       are widespread practices of which Defendants had or should have had notice.

       Defendants contend that Counts V and VI should be dismissed because Plaintiffs have

failed to demonstrate the existence of widespread customs of unconstitutional misconduct.

However, Plaintiffs have alleged numerous instances of excessive macing and water deprivation,

such that there is a widespread custom at the St. Louis City Justice Center (“CJC”) of using both

as forms of punishment. Indeed, this Court has already determined that Plaintiffs have pled facts

“sufficient to raise a reasonable expectation that discovery will reveal evidence to support their

claim of municipal liability under § 1983, which is all that is required at this early stage in the

proceedings.” Doc. 52 at 11-12

       Under Monell, municipal liability involves two requirements: “(1) a policy, practice, or

custom must be attributable to the City through actual or constructive knowledge; and (2) the

policy, practice, or custom must directly cause constitutional injury.” Gatlin ex rel. Estate of Gatlin

v. Green, 362 F.3d 1089 (8th Cir. 2004) (citing Monell v. Dep't of Soc. Servs., 436 U.S. 658, 694

(1978)). Municipal liability under § 1983 will lie where a municipal policy, custom, or practice,

maintained with deliberate indifference to the known or “obvious” risk of constitutional violations,

causes a plaintiff’s constitutional rights to be violated. City of Canton v. Harris, 489 U.S. 378,

388-89 n. 10 (1989). Plaintiffs in this case allege months of routine, and obvious, uses of excessive

force and water deprivation intended to inflict pain and suffering upon detainees in violation of

the Fourteenth Amendment. The Complaint outlines a pattern of the use of excessive mace against


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specific detainees in specific contexts and retaliatory water shut-offs in specific pods of the CJC

on particular dates. Doc. 131 ¶¶ 98-105, 118. The facts outlined establish a pattern of punitive

practices that more than supports a reasonable inference of Monell liability.

       The allegations in the complaint more than meet the standard in the Eighth Circuit to

demonstrate the existence of a widespread custom. In Watson v. Boyd, the court concluded that ten

to fifteen complaints over fourteen months constituted “sufficient evidence of a custom in support

of Monell claim to withstand Defendants’ Motion for Summary Judgment.” 447 F. Supp. 3d 924,

950 (E.D. Mo. 2020); cf. Valentino v. Vill. of S. Chicago Heights, 575 F.3d 664, 675 (7th Cir.

2009) (noting that “[i]f the same problem has arisen many times and the municipality has

acquiesced in the outcome, it is possible (though not necessary) to infer there is a policy at work”

and reversing the district court’s grant of summary judgment against the plaintiff) (citation

omitted).

       In the present case, Plaintiffs plainly allege repeated instances over months in which CJC

staff violated the Fourteenth Amendment, and plainly allege the City was on notice of these claims.

The Complaint lists multiple examples of when excessive macing or water deprivation were used

to punish detainees. Doc. 131 ¶¶ 77, 118. Plaintiffs detail a pattern of incidents that undergird these

claims, with numerous factually similar incidents that occurred over a period of months. Doc. 131

¶¶ 73-79, 118. Plaintiffs allege that multiple allegations of excessive force have not been

investigated because their attempts to file grievances have been obstructed or ignored. Id. ¶ 129-

150. Plaintiffs also allege CJC staff have regularly engaged in water shut-offs on a weekly basis

in response to alleged detainee misconduct, and describe with specificity the repeated use of water

deprivation in response to minor alleged detainee misconduct. Id. ¶¶ 116-124. Here, Plaintiffs set

forth more than enough facts describing a prolific pattern of brutality, to obviousness of which put




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the Defendant City on actual or constructive notice. See Connick v. Thompson, 563 U.S. 51, 59,

(2011). Defendants’ cites do not hold otherwise. Mettler v. Whitledge in fact emphasizes that

“Evidence that a [government] has failed to investigate previous incidents similar to the incident

in question may support a finding that a municipal custom exists, and that such a custom

encourages or allows officers to use excessive force without concern for punishment.” 165 F.3d

1197, 1205 (8th Cir. 1999). Plaintiffs’ claims should proceed to discovery so that evidence can be

provided to support the facts of the recurrent practices that should have put Defendants on notice.

       These patterns are united in similarity by the use of water deprivation and excessive use of

force as means of punishing detainees for minor misconduct (assuming there was misconduct at

all). To establish a Monell claim, “isolated incidents do not suffice” but “evidence of ‘many’

incidents does establish liability.” Burbridge v. City of St. Louis, Missouri, 430 F. Supp. 3d 595,

620 (E.D. Mo. 2019), aff'd, 2 F.4th 774 (8th Cir. 2021). On both counts, Plaintiffs’ allegations

show many similar incidents that violate the constitutional rights of the detainees at the CJC. This

is not a matter of one incident, or even a handful of incidents, which could have gone unnoticed

by Defendant City. At the very least, the obviousness of these violations at the City Justice Center

gave Defendants constructive notice of a pattern of excessive macing and water shut off.

       As this Court wrote in denying Defendants’ Motion to Sever and Bifurcate, Plaintiffs’

allegations all “encompass at least two Justice Center employees who acted or were continuing to

act together as a part of the alleged custom or widespread practice of using excessive force or

deprivation of water, which would inevitably deprive inmates of their constitutional rights.” Doc.

112 at 5. Given this Court’s acknowledgment that Plaintiffs’ allegations clearly lay out a

widespread custom and practice, this Court should not dismiss Plaintiffs’ Monell claim.




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       Defendants also dispute whether the allegations regarding water deprivation sufficiently

show notice to the municipality and its officials. The Complaint clearly alleges such notice. See

Doc. 131 ¶ 223. First, the allegations show employees commonly and routinely announcing their

punitive intentions and shutting off water to whole pods—actions the City and Defendants Barnes

and Glass should have been aware of. Id. ¶¶ 116-120. Moreover, after a three-day water shut-off

at CJC, advocates wrote to City officials and received a response regarding the deprivation of

water. Id. ¶¶ 114-115. While Plaintiffs dispute the City’s position regarding why water is routinely

shut off at the CJC, the City’s response demonstrates that City officials were aware of the practice.

Id. ¶ 115. Moreover, the acquisition of more detailed facts with respect to instances of water

deprivation is the purpose of discovery and this claim should not be dismissed at this stage of

proceedings.

       Finally, Defendants argue that given Plaintiffs’ argument they were unable to utilize the

grievance process means that, “the jail administration almost certainly did not have notice of the

plaintiffs’ grievances.” Doc. 140 at 17. Plaintiffs’ precise allegations are that because CJC staff

deliberately thwarted detainees’ attempts to use the grievance process and the grievances did not

reach the officials they ought to have reached under CJC policy. In their complaint, Plaintiffs

describe their attempts to use the grievance process and either receiving no reply—in violation of

CJC policies—or being threatened with mace for attempting to file an informal resolution request

(IRR). Doc. 131 ¶¶ 129-150. Plaintiffs contend that when detainees file grievances regarding

instances of used force, staff disregard and refuse to submit or deliver those grievances. Id. ¶¶ 195-

198. “The right to access the prison grievance process” is a protected constitutional right. Spencer

v. Jackson Cty. Mo., 738 F.3d 907, 913 (8th Cir. 2013). CJC staff make the grievance process

practically inaccessible—it is a broken system designed to fail. To the extent the City of St. Louis




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uses this to claim policymakers were not on notice, it was Defendants’ own employees who

obstructed detainees’ only method to provide such notice.

        More practically, the grievance process is not the only means by which Defendants would

be given notice. Plaintiffs include numerous allegations concerning how mace is used in CJC that

would provide actual or constructive notice to all Defendants. Doc. 131 ¶¶ 80-83. Plaintiffs allege

mace is often deployed by or in the presence of jail supervisors; that “visiting booths often have

tangible smell and residue from mace that is openly detectable for hours or days after a macing

incident”; and that the City has purchased ever escalating number of chemical agents. Id.

        Finally, Defendants miss the mark in suggesting that because some use of force incidents

are reflected in the monthly reports that it follows that all uses of force are investigated. Plaintiffs

properly allege that detainees have been injured by the excessive use of mace at the CJC and the

absence of reports is indicative of deliberate indifference. Defendants are liable for their deliberate

indifference to a widespread custom and not just for the uses of force CJC staff selectively reports.

        The City of St. Louis is well aware that mace and retaliatory water shut-offs are used

regularly at the CJC, has provided specific guidelines for its use, and is or should be on notice

when it is being used excessively and in violation of their policy, for the purpose of inflicting pain

and suffering. As this Court found in denying Defendants identical argument previously raised,

“The Court finds that Plaintiffs have pleaded facts sufficient to raise a reasonable expectation that

discovery will reveal evidence to support their claim of municipal liability under § 1983, which is

all that is required at this early stage in the proceedings.” Doc. 52 at 11-12.

IV.     Plaintiffs have successfully alleged a need for injunctive relief, and it is premature to
        argue that possible relief would violate the PLRA.

        Defendants prematurely assert that Counts V, VI, VII, IX, X, and XI should be dismissed

because the requested relief is overly broad under the PLRA. 18 USC §3626(a)(1)(A). However,


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Plaintiffs' requested relief is narrowly tailored to address two specific unconstitutional practices:

correctional officers’ excessive use of chemical agents, particularly against restrained individuals

where those individuals do not present a threat; and a water-deprivation practice used to punish

detainees. Doc. 131, Count V and XI. Defendants mischaracterize Plaintiffs’ requested relief and

inappropriately challenge it when parties have barely begun to develop the record.

       Plaintiffs have not requested nor briefed any specific scope for injunctive relief, there is no

proposed remedial plan, and indeed, the parties have barely begun to develop the record.

Defendants misunderstand the role of the PLRA at this stage. The restrictions that the PLRA

imposes are not triggered until the Court sets its hand to fashioning appropriate relief. Yates v.

Collier, 868 F.3d. 354, 370 (citing Williams v. Edwards, 87 F.3d 126, 133 (5th Cir. 1996)). At the

appropriate time, this Court is more than capable of crafting a permanent injunction with a precise

scope that will provide the narrowly tailored relief required by the PLRA. See Langford v. City of

St. Louis, Missouri, 443 F.3d 962, 993 (E.D. Mo. 2020), overruled on other grounds by Langford

v. City of St. Louis, Missouri, 3 F.4th 1054 (8th Cir. 2021) (limiting scope of requested permanent

injunction to narrowly tailor relief following summary judgment briefing). At this stage, the PLRA

“provides no independent basis” for dismissing this claim. Johnson v. McCowan, 549 F.Supp.3d

469, 479 (W.D.Va. 2021) (holding Plaintiffs’ request to “permanently enjoin and estop” policies

permitting and condoning canine attacks did not fail for being overbroad because the Defendant’s

argument was premature at the motion to dismiss stage). If this Court grants permanent injunctive

relief, this Court will itself evaluate when the relief has successfully caused Defendants to come

into compliance with the constitution and terminate accordingly. See Skinner, 457 F.Supp.2d at

1279. Defendants offer no reason to doubt the Court will act in full compliance with the statutory

requirements to only intervene as necessary.




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       First, Defendants’ claim that Plaintiffs’ request for injunctive relief prohibiting

unconstitutional use of chemical agents is overly broad because the Court has “no method for

determining ‘constitutionality’” and would be forced to issue “a complete ban on the use” of

chemical agents by CJC. Doc. 140 at 20. This assertion is absurd and warrants minimal

consideration. Plaintiffs have raised well-pleaded allegations of a discrete practice of

unconstitutional punishment through the excessive deployment of chemical agents against

individuals without warning and against those who pose no imminent danger. Defendants cite no

applicable cases to support the contention that excessive and punitive use of chemical agents

cannot be remedied through injunctive relief compliant with the requirements of the PLRA.

Defendants’ further contention that injunctive relief against the ongoing and inhumane practice of

water shut-offs is “vague”, is unsupported by case law and premature at this stage.

       Plaintiffs agree this Court has a statutory duty to ensure that prospective relief is narrowly

drawn and intrudes only as necessary to correct the violation of the Federal right under the PLRA.

18 U.S.C. § 3626(a)(1)(A). Accordingly, Plaintiffs’ requested relief is limited to specific types of

widespread constitutional violations of the kind that courts have found suitable for permanent

injunctive relief under the PLRA. This is like Graves v. Arpaio, where the Ninth Circuit upheld

injunctive relief requiring Defendants to remediate heat issues and inadequate nutrition after

Plaintiffs proved two specific practices caused unconstitutional conditions. 623 F.3d 1043, 1049-

1051 (9th Cir. 2010). See also Skinner v. Lampert, 457 F.Supp.2d 1269, 1283 (D. Wyo. 2006)

(finding injunctive relief requiring changes to the entire system of documenting and investigating

uses of force to be narrowly tailored under the PLRA); Hawkins v. Comparet-Cassani, 251 F.3d

1230 (9th Cir. 2001) (granting preliminary injunction banning the use of stun belts but narrowly

allowing the use for courtroom security). Plaintiffs' requested relief is targeted just to the




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unconstitutional use of chemical agents and water shut-offs as punishment. Doc. 131, Count V and

XI. Relief here would only implicate the employees involved in the challenged conduct and would

not bring federal court intervention to other aspects of CJC.

       Defendants next argue that it would be impractical for them to comply with prospective

relief under Count VII, which seeks to protect a Medical Subclass of Plaintiffs under the ADA.

Defendants’ dismissal of any medical condition checks of any kind as “impractical if not

impossible” is unsupported, especially when Plaintiffs have not requested a specific policy change.

For example, in Harvard v. Inch, 411 F.Supp.3d 1220 (N.D. Fla. 2019), the court found that

Plaintiffs had sufficiently pled discrimination based on disability due to Defendants’ failure to

modify several policies regarding discipline and isolation of Plaintiffs with disabilities. It also

contradicts other cases where Courts have successfully fashioned narrow injunctive relief for

accommodations. See Thomas v. McNeil, 614 F.3d 1288 (11th Cir. 2010) (granting injunctive relief

requiring DOC officials to consult with mental health professionals before non-spontaneous

macing of Plaintiffs). Plaintiffs’ requests for reasonable accommodations under the ADA are

viable and Defendants’ arguments are inappropriate at this stage.

       Plaintiffs’ Third Amended Complaint clearly seeks permissible relief that is well within

this Court’s authority to provide.

 V.    Defendants Improperly Raise Rule 23 arguments in Their Motion to Dismiss.

       As a threshold issue, a Motion to Dismiss is not the appropriate vehicle for addressing Rule

23 arguments. Defendants’ challenges to the capacity of class-wide relief and the adequacy of class

representatives ignore settled Eighth Circuit precedent, which warns that “[t]he propriety of class

action status can seldom be determined on the basis of the pleadings alone.” See Walker v. World

Tire Corp., 563 F.2d 918, 921 (8th Cir. 1977). Instead, the district court “must have before it




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‘sufficient material … to determine the nature of the allegations, and rule on compliance with the

Rule’s requirements …’” Id. (internal citation omitted); see also Nobles v. State Farm Mut. Auto.

Ins. Co., No. 10-04175-CV-C-NKL, 2012 WL 4090347, at *n.1 (W.D. Mo. Sept. 17, 2012) ("[T]he

weight of authority indicates that courts should meet motions to dismiss class allegations at the

12(b)(6) stage with a great deal of skepticism."). Plaintiffs have filed a separate motion for Rule

23 class certification, which is where Plaintiffs’ class claims would be properly considered. Docs.

71, 72 and 132-1.

       Even if the Court were to consider whether Plaintiffs’ class claims were properly pleaded,

Plaintiffs have alleged facts sufficient to satisfy the requirements of Rule 23. Defendants raise

specific challenges in their Motion to Dismiss to the commonality and adequacy of representation

requirements of Rule 23(a)(2) and (a)(4). MTD at 21- 23. Their arguments are untethered from the

established tests to survive class certification under the Federal Rules of Civil Procedure and

should be dismissed as improper and untimely.

   A. Plaintiffs allege sufficient facts that, taken as true, present common questions capable
      of class-wide resolution because all class members are subject to the same challenged
      policies and procedures.

        Defendants’ challenges to Rule 23(a)(2) commonality again misunderstands that the

putative class only seeks prospective injunctive and declarative relief. While concerns related to

individual assessment may have some merit if the putative class was seeking damages, here they

are not seeking damages, but rather allege widespread policies that injure all class members by

exposing them to the same substantial risk of serious harm. “Rule 23(b)(2) applies…when a single

injunction or declaratory judgment would provide relief to each member of the class.” See Wal-

Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011). Injunctive relief here would resolve all of

the class members’ claims “in one stroke.” See id.; see also Fant v. City of Ferguson, Missouri,




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No. 4:15-CV-00253-AGF, 2022 WL 2072647, at *21 (E.D. Mo. June 9, 2022) ( “. . .the relief

sought here is applicable to all class members as it seeks to declare the City's policies and practices

. . . unconstitutional and seeks to enjoin the City from enforcing such policies and practices.”).

        With respect to commonality, each member of the putative class shares two common

questions: 1) Whether Defendants have a pattern and practice of using excessive force through

deployment of chemical agents without justification or warning, and in unreasonable amounts; and

2) Whether Defendants have a pattern and practice of using water shut-offs as a form of

punishment. See Doc. 75 at 10. Answering these two common questions will resolve the claims of

each class member simultaneously. Courts have regularly determined that the 23(a)(2) requirement

is satisfied in excessive force class claims, where plaintiffs are challenging unconstitutional

policies and practices. See Fant v. City of Ferguson, Missouri, No. 4:15-CV-00253-AGF, 2022

WL 2072647 (E.D. Mo. June 9, 2022) (class certified of prisoners alleging excessive force policies

because plaintiffs did not challenge “particular instances” of force, but rather alleged that “the

conditions applied to them in substantially uniform ways . . .”); Anderson v. Garner, 22 F. Supp.

2d 1379, 1387 (N.D. Ga. 1997) (class certified of prisoners challenging excessive force, in part

because “the practices and conduct alleged by Plaintiffs, if proven, apply generally to all members

of the proposed class.”); Ingles v. City of New York, No. 01 CIV. 8279(DC), 2003 WL 402565, at

*9 (S.D.N.Y. Feb. 20, 2003) (class of prisoners certified because “Plaintiffs contend that a policy

of excessive force existed at DOC facilities, and inmates will suffer irreparable harm . . . so long

as the policy exists”).

    B. Plaintiffs allege sufficient facts that, taken as true, demonstrate that the named
       representatives share common interests with the class and that the representatives
       will vigorously prosecute those interests.




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         Defendants baselessly challenge the adequacy of Plaintiffs’ named representatives through

the same faulty argument with which they challenge commonality. Defendants argue that this

action will devolve into hundreds of mini trials, and because of this, Plaintiffs’ named

representatives cannot fairly and adequately protect the interests of the class. This drastically

misconstrues Eighth Circuit precedent in 23(a)(4) determinations and entirely misses the

requirements of 23(a)(4). The proper focus of the 23(a)(4) requirement is whether: “(1) the class

representatives have common interests with the members of the class, and (2) whether the class

representatives will vigorously prosecute the interests of the class through qualified counsel.”

Paxton     v.   Union     Nat’l    Bank,    688    F.2d    552,   562-63     (8th   Cir.   1982).4

         Here, the representatives’ interests are aligned with class interests. Each representative

“possess[es] the same interest and suffer[ed] the same injury” as the class members. See Amchem

Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997). As people incarcerated in the same facility as

the class, the representatives and the class share the common interest of ending unconstitutional

CJC policies and practices. Doc. 69-1 ¶¶ 8-11; see generally Anderson v. Garner, 22 F. Supp. 2d

1379 (N.D. Ga. 1997) (finding alignment of interest because “the named Plaintiffs and the

proposed members share a common interest in eliminating allegedly unconstitutional practices

employed by Defendants”). The representatives also suffered the same injury as all members of

the class because each of them was exposed to the same substantial risk of serious harm from the

policies and procedures at CJC. Plaintiffs Withers and Rusan additionally allege that their medical

conditions place them at an additional risk of unlawful treatment, like other medically vulnerable

detainees at CJC. Doc. 72-1 at 21. The requested injunctive relief will grant relief for all class



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 Though Defendants’ specific 23(a)(4) challenge is unclear, they do not seem to challenge the
ability of class counsel. Therefore, only the adequacy of the named representatives will be
discussed.

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members equally, including Plaintiffs, who can therefore adequately represent the class.

       Courts have found plaintiffs to be inadequate class representatives in instances where, for

example: (1) the purported representative is not a member of the class because they have not

suffered the same injury as the rest of the class, Walker v. World Tire Corp., 563 F.2d 918 (8th

Cir. 1977); (2) different sub-classes have pecuniary interests that are directly contradictory to each

other, Amchem Prods., Inc., 521 U.S. at 626; and (3) the purported representative was suing the

defendant in a separate individual damages claim, at the same time as the class claims, Duffek v.

iMedia Brands, Inc., No. 21CV01413ECTBRT, 2022 WL 2384171, at *3 (D. Minn. July 1, 2022).

       None of these circumstances are present here. Nor do Defendants frame their adequacy

challenge with any adherence to the Eighth Circuit standard. Plaintiffs have alleged facts sufficient

to fulfill the requirements of 23(a)(4) and Defendants’ vague challenge to the adequacy of named

representatives should be dismissed.

VI.    Plaintiffs Properly Plead Violations to their Rights under the ADA in Counts VII and
       VIII.

       Defendants focus their challenge to Plaintiffs’ ADA claims on whether Plaintiffs were

denied benefits of programs, services, or activities at CJC, the second element of Plaintiffs’ ADA

claim. Doc. 140 at 23-24. Defendants do not explain their position and instead urge this Court to

adopt what can only be construed as an overly simplistic definition of “programs, services or

activities” without any support in the law.

       Plaintiffs properly pled that their rights under the ADA were violated by pleading that they

were “1) … qualified individual[s] with a disability[ies]; 2) … excluded from participation in or

denied the benefits of a public entity's services, programs, or activities, or was otherwise

discriminated against by the entity; and 3) that such exclusion, denial of benefits, or other

discrimination, was by reason of … [their ] disability.” Layton v. Elder, 143 F.3d 469, 472 (8th


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Cir.1998) (citing to the 42 U.S.C. § 12132); see also Randolph v. Rodgers, 170 F.3d 850, 858 (8th

Cir. 1999). Title II of the ADA extends to jails and prisons. Pa. Dep’t of Corr. v. Yeskey, 524 U.S.

206, 210 (1998).

       While the ADA does not explicitly define “services, programs, or activities” the

Rehabilitation Act, which uses the same “basic standards and definitions” making “cases

interpreting either… interchangeable,” Allison v. Dep’t of Corr., 94 F.3d 494, 497 (8th Cir.1996),

defines “program or activity” as “all operations” of a state instrumentality. 29 U.S.C.

§794(b)(1)(A). The Eighth Circuit has concluded that “programs, services, or activities,” within

the meaning of Title II, includes all operations of a public entity. Gorman v. Bartch, 152 F.3d 907,

911–12 (8th Cir. 1998). And the Third, Sixth and Ninth Circuits all agree that “services, programs,

or activities” under the ADA encompass “virtually everything a public entity does.” Anderson v.

City of Blue Ash, 798 F.3d 338, 356 (6th Cir. 2015); Furgess v. PA. Dep’t of Corr. 933 F.3d 285,

289 (3d. Cir. 2019); City of Los Angeles v. AECOM Services, Inc., 854 F.3d 1149, 1153-54 (9th

Cir. 2017).

       “Everything a public entity does” includes using force or denying water to detainees, thus

depriving Plaintiffs of a safe and lawful detention. Courts nationwide have found that the ADA

and the Rehabilitation Act applies to officers’ use of force while interacting with disabled

individuals in their ordinary line of work. See Wilson v. City of Southlake, 936 F.3d 326 (5th Cir.

2019) (finding the ADA claim against a city responsible for training a School Resource Officer

who berated and handcuffed a disruptive disabled student should survive summary judgment);

Spencer v. Dawson, No. 04 C 5048, 2006 WL 3253574, at *11 (N.D. Ill. Nov. 7, 2006)

(Rehabilitation Act applied to defendant officer’s on-the-street response where he was alleged to

have arrested and pepper sprayed plaintiff); see also Gorman v. Bartch, 152 F.3d 907 (8th Cir.




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1998) (arrestee transportation was “program” or “service” of police department and “benefit”

plaintiff sought was “to be handled and transported in a safe and appropriate manner consistent

with his disability”); Waller ex rel. Estate of Hunt v. Danville, VA, 556 F.3d 171, 175–76 (4th Cir.

2009) (assuming for purpose of argument that duty of reasonable accommodation under ADA

applies in police standoff situation but finding that ADA did not apply in specific circumstances

at issue because of exigent circumstances); Sheehan v. City & Cnty. of San Francisco, 743 F.3d

1211 (9th Cir. 2014), rev'd in part, City & Cnty. of San Francisco, Calif. v. Sheehan, 575 U.S. 600,

(2015) (Finding that “services, programs, or activities” under the ADA includes arrests). The same

reasoning must also apply to correctional officers using force and other forms of punishment

against detainees.

       Additionally, the consequences of macings and water shut-offs on disabled individuals like

Plaintiffs without accommodation exposes them to discrimination and denies them the benefits of

services within the City Justice Center as they are unable to live like other able-bodied detainees.

Cf. Owens v. Chester County., No. CIV. A. 97-1344, 2000 WL 116069 (E.D. Pa. Jan. 31, 2000)

(denying summary judgment on ADA claim where jail officials denied plaintiff use of crutch or

wheelchair, depriving plaintiff of the ability to utilize many of the benefits that the Prison provides

to its detainees, including use of the phone, use of the general library, participating in the yard

activities, etc.). Plaintiffs plausibly plead that their rights under the ADA were violated when

Defendants used force against them while detained. Defendants’ motion to dismiss claims VII and

VIII should be denied.

                                             Conclusion

       For the forgoing reasons Defendants’ motion to dismiss should be denied.


Dated: July 21, 2022                           Respectfully submitted,



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